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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                     NO. 4:08CR00013-003 SWW

MARIA JUDITH AZVALZA-YANEZ




                           ORDER OF DISMISSAL

      Upon the government’s oral motion made in open Court to dismiss the

indictment pending against the above defendant,

      IT IS ORDERED that the motion is granted, and the indictment pending

in this case hereby is dismissed as to separate defendant Maria Judith

Zavalza-Yanez.

      DATED this 23rd day of July, 2008.



                                        /s/Susan Webber Wright

                                        UNITED STATES DISTRICT JUDGE
